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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 14-08705-DMG (DFM) Date: October 1, 2021
Title Miguel Angel Suarez v. Clark Ducart

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Petitioner: Attorney(s) for Respondent:
Not Present Not Present

Proceedings: (IN CHAMBERS) Order to Show Cause

On April 19, 2021, the Court ordered Petitioner to file a status report within ninety (90) days
informing the Court of the status of Petitioner’s exhaustion efforts. See Dkt. 56. That time has

now long elapsed.

Accordingly, Petitioner is ordered to show cause within twenty-one (21) days why the
Court should not dismiss this action for failure to prosecute. Failure to respond to this order may
result in a dismissal of this action. The filing of a status report responsive to the Court’s April 19,
2021 order is sufficient to discharge this order.

CV-90 (12/02) CIVIL MINUTES-GENERAL Initials of Deputy Clerk: nb
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